














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0333-10





NORTHINGTON BUTLER, III, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTH COURT OF APPEALS

BEXAR COUNTY




Per curiam.  KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3(b)
and 68.4(i) because the original petition is not accompanied by 11 copies and does not
contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: August 25, 2010.

Do Not Publish


